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  NOT FOR PUBLICATION

                             UNITED STATES DISTRICT COURT
                                DISTRICT OF NEW JERSEY

  ____________________________________
                                      :
  THOMAS & BETTS CORPORATION,         :
                                      :
                    Plaintiff,        :                Civil Action No. 01-4677 (SRC)
                                      :
              v.                      :                OPINION
                                      :
  RICHARDS MANUFACTURING CO.,         :
  et al.,                             :
                                      :
                    Defendants.       :
  ____________________________________:

  CHESLER, U.S.D.J.

         This matter comes before the Court following the conclusion of a jury trial of this case.

  Plaintiff has submitted a proposed form of final judgment, and Defendants have agreed to some

  aspects, but opposed others. This Court now addresses the issues in dispute: 1) the running of

  prejudgment interest during the pendency of the appeal before the Third Circuit; and 2) the

  characterization of the counterclaim.

         Defendants contend that prejudgment interest should not run during the pendency of the

  appeal before the Third Circuit (June 18, 2008 through July 20, 2009), pursuant to New Jersey

  Court Rule 4:42-11(b), which states:

         Tort Actions. Except where provided by statute with respect to a public entity or
         employee, and except as otherwise provided by law, the court shall, in tort actions,
         including products liability actions, include in the judgment simple interest,
         calculated as hereafter provided, from the date of the institution of the action or
         from a date 6 months after the date the cause of action arises, whichever is later,
         provided that in exceptional cases the court may suspend the running of such
         prejudgment interest.
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  Defendants argue that this is just such an exceptional case.

         In Kotzian v. Barr, 81 N.J. 360, 364 (1979), the New Jersey Supreme Court set forth the

  basic principle underlying the application of New Jersey Court Rule 4:42-11(b):

         [T]he application of prejudgment interest [is] left to the sound discretion of the
         trial court. As R. 4:42-11(b) now stands, the exercise of that discretion is to be
         guided essentially by the . . . policies which gave birth to the Rule.

  The Court described these policies as follows:

         [W]e advert to the policies underlying the prejudgment interest rule, namely, the
         indemnification of a plaintiff for the loss of income he presumably would have
         earned had payment not been delayed, and the encouragement of prompt
         consideration of settlement possibilities.

  Id. at 363. See also Heim v. Wolpaw, 271 N.J. Super. 538, 542 (N.J. Super. Ct. App. Div. 1994)

  (“The purposes for awarding prejudgment interest in tort actions, pursuant to R. 4:42-11(b), are

  not only to compensate plaintiffs for not having use of the judgment money while their actions

  are pending and to require defendants to give up the benefits of their use of the money during that

  time, but also to encourage defendants to settle cases.”)

         The New Jersey Supreme Court has provided this guidance for the inquiry into whether a

  case is exceptional: “This language has been interpreted to mean that ‘prejudgment interest can *

  * * be withheld only where it is demonstrated that the policy, spirit and intent of the rule are

  patently inapposite to the circumstances at hand.’” Ruff v. Weintraub, 105 N.J. 233, 245 (1987)

  (quoting Kotzian v. Barr, 152 N.J. Super. 561, 565 (N.J. Super. Ct. App. Div. 1977).)

         Applying this guidance to the instant case, Defendants have not demonstrated that the

  policy, spirit, and intent of the rule are patently inapposite to the circumstances at hand. Rather,

  Defendants only offer these weak points: 1) the length of the period of appeal was a function of



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  appellate procedure; and 2) allowing prejudgment interest does not serve to encourage

  settlement.1 As for the first point, it is difficult to see what relevance this has to the inquiry into

  whether exceptional circumstances are present. As to the second point, even if Defendants

  persuaded that allowing prejudgment interest would not serve to encourage settlement – which

  they have not done – the language of Ruff requires that they demonstrate that the policy is

  patently inapposite to the circumstances at hand. Defendants have not done so.

          Defendants have not offered any argument directed toward demonstrating that the

  circumstances at hand are, indeed, exceptional ones. The occurrence of an appeal in litigation

  does not appear to be exceptional in any way. Furthermore, Defendants have not argued that

  refusal of the exception does not serve the policy goal of compensating Plaintiff for the loss of

  the interest income that would have been earned had payment not been delayed. Plaintiff lost,

  and Defendants gained, interest income from the money not paid to satisfy the judgment during

  the pendency of the appeal. Plaintiff is entitled to that interest under New Jersey Court Rule

  4:42-11(b). Prejudgment interest will be calculated without any exception for the period of the

  pendency of the appeal.

          Defendants’ blackline of Plaintiff’s proposed final judgment also deletes the phrase

  “breach of the duty of loyalty” from the explanatory label for Amended Counterclaim 5, but the



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           In support of this point, Defendants point to Barris v. Bob’s Drag Chutes & Safety
  Equipment, Inc., 717 F.2d 52, 56 (3d Cir. 1983), a case involving a Pennsylvania court rule
  authorizing the imposition of damages for delay. There are a number of reasons why this case is
  not analogous, but the most obvious one is that the application of the Pennsylvania delay
  damages rule is so very different from the application of the exceptional circumstances exception
  to the New Jersey prejudgment interest rule. The Pennsylvania rule does not concern interest,
  and the case sheds little light on the question of when New Jersey law authorizes the Court to
  suspend the running of prejudgment interest.

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  Court is satisfied that Defendants’ form of order is correct.

         In conclusion, this Court rejects Defendants’ changes to Plaintiff’s proposed final

  judgment. The final judgment will be entered as submitted by Plaintiff.



                                                  s/ Stanley R. Chesler
                                                STANLEY R. CHESLER, U.S.D.J.

  Dated: January 12, 2011




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